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  I.INITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                                     X

  RICARDO BENITEZ,
                                                                         STIPULATION AND
                                                        Plaintiff,       ORDER OF DISMISSAL

                               -against-                                 r7-cY-3827 (SJ) (SJB)

  CITY OF NEW YORK, RAUL LOPEZ, FRANK LIBRETTO,
  SERGEANT STAMM, TINA GRILLO,

                                                     Defendants
                                                                     x


                  WHEREAS, the parties have reached a settlement agreement and now desire to

  resolve the remaining issues raised in this litigation, without further proceedings and without

  admitting any fault or liability;

                  NOW, THEREFORE,          IT IS HEREBY STIPULATED AND AGREED,                   bY


  and between the undersigned, that

          1.      The above-referenced action is hereby dismissed with prejudice; and




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            2.       Notwithstanding the dlsmissal of'this aotion in acoordance with this agreemont,

     the Distriet Court shall continue to retain jurisdlction, over this action for the putpose
                                                                                                of
     enforcing theterns of the settlement agreement reached between the parties
                                                                                and set forth in the

     Stipulation of Settlement.exeeutod by the parfies in this matter.


     Dated: New York, New      york
             hl\           at,eozo

    I,A.W OFFXCES OF JOEL B. RUDIN, P.C.                    JAtv{,ES E. JOIXNSON
    Attorneysfor   Plaintffi                                Corpomtion Counsel of the
    i52 West 57th Stroet, gth Floor                               CityofNew York
    New Yorh New York [,00f 9                              Attorneyfor Defendants,Ctty of New york,
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                                                           t00 Chutsh Street, 3d'Floor
                                                           New Yor[<, New Y-,ork 10002


                      f)
    By:                                              By:
                                                           Brin
                   fur Plaintiff                           A: s sistant C orp   oration C ouw eI

                                                           SO ORDERED:




                                                           t{oN. STERLING JOHNSON, JR.
                                                           IINITED STATES DISTRICT JUDGE

                                                           Dated:                           2420




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